Case 1:19-cr-00175-ELH Document 23 Filed 04/08/19 Page 1 of 1

 

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IN THE UNITED STATES DISTRICT EOURE PH 1 00
FOR THE DISTRICT OF MARYLAND. Spring
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UNITED STATES OF AMERICA * ot. apt _
* CRIMINAL-NO-67- EF O_
7 * ELH-19-017 5
* (Theft of Government Property,
DONNA MARIE SIEGLEIN, * 18 U.S.C. §641; Aiding and Abetting, 18
*  ULS.C. § 2)
Defendants. *
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CRIMINAL INFORMATION

 

The United States Attorney for the District of Maryland charges that:

Between on or about August 10, 2018, and November 1, 2018, in the District of Maryland,
the defendant,

DONNA MARIE SIEGLEIN,

willfully and knowingly did embezzle, steal, purloin, and converted for her use and the use of
another, and without authority, sold, conveyed, and disposed of any record, voucher, money, and
thing of value of the United States and any department and agency thereof, and any property made
or being made under contract for the United States and any department and agency thereof, to wit,
the defendant stole, and aided and abetted the theft of, personal! electronics merchandise bélonging
to the United States Navy with a total value of at least approximately $62,111.

18 U.S.C. § 641
18 U.S.C. §2

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Robert K. Hur
United States Attorney

 
